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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
RICHMOND MAIN, LLC,
A Michigan Limited Liability Company                    Hon. Denise Page Hood

       Plaintiff,                                       Civil Action No. 2:24-cv-12106

vs.

FRENCHTOWN SQUARE PARTNERSHIP,
An Ohio General Partnership

       Defendant.
                                                                                    /
PHILLIP A. GREENBLATT, PLLC                             PHILIP A. COSTELLO, PLLC
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                                                                                      /
              MOTION FOR JUDGMENT ON THE PLEADINGS

       Now comes Defendant Frenchtown Square Partnership (hereinafter

“Defendant”) and respectfully moves this honorable Court for a judgment on the

pleadings pursuant to Fed. R. of Civ. Pro. 12(c) against Plaintiff Richmond Main,

LLC (hereinafter “Plaintiff”). Defendant hereby requests a judgment dismissing all

claims brought by Plaintiff on the grounds that Plaintiff was barred from bringing

this lawsuit, or in the alternative, that Plaintiff failed to state a claim for which relief
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can be granted. Accordingly, Defendant is entitled to judgment as a matter of law

against Plaintiff for the reasons detailed in the accompanying Brief.

                                                    Respectfully Submitted,

Dated: January 28, 2025

                                                    /s/ Philip A. Costello
                                                    Philip A. Costello (P36075)
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       BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON THE

                                   PLEADINGS:

                              ISSUES PRESENTED

      On May 12, 2021, Plaintiff Richmond Main, LLC (hereinafter “Plaintiff”)

entered into an Assignment and Assumption of Operating and Easement Agreement

(hereinafter “Assignment”) that required Plaintiff to, amongst other obligations,

make monthly common area maintenance payments to Defendant Frenchtown

Square Partnership (hereinafter “Defendant”), which Plaintiff did not tender. In

January of 2022, Defendant sought judicial enforcement of the Operating and

Easement Agreement (hereinafter “OEA”) ECF No. 14-1, PageID. 132-220, but

before a final decision from the court, the parties entered into a Settlement

Agreement ECF No. 14-1, PageID.237-246, where Plaintiff promised to pay

delinquent and future common area maintenance fees; complete various repairs to

its real property as required by the OEA including, but not limited to, the complete

replacement of the parking lot located on Plaintiff’s tract; and released Defendant of

any and all claims before the effective date of the Settlement Agreement.

      Despite being contractually barred from suing Defendant on any claims

available at the time of the Settlement Agreement, Plaintiff now brings this lawsuit,

erroneously alleging that the settlement was obtained as a result of Defendant’s

fraudulent misrepresentation that the OEA was still effective, among other


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unsubstantiated accusations. This Court must now decide whether Plaintiff is

contractually barred from further litigating this action. If the Court decides Plaintiff

is not barred, then this Court must decide, based upon the allegations in Plaintiff’s

Complaint, (1) whether Plaintiff adequately stated a claim against Defendant for

fraud by misrepresentation, statutory conversion, and unjust enrichment; and (2)

whether Plaintiff has any legal basis for declaratory reliefs, quiet title, and

constructive trust.




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       BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON THE

                                    PLEADINGS

I.    FACTS

      In August 1994, Defendant Frenchtown Square Partnership (hereinafter

“Defendant”) and Dayton Hudson Corporation (hereinafter “Target”) entered into

an Operation and Easement Agreement (“OEA”) ECF No. 14-1 Page ID.135-213,

enumerating each party’s rights and responsibilities regarding their respective tracts

of land that functioned contiguous and adjacent to one another, operating together

as a single shopping complex. (Pl.’s Compl. ¶ 5; Def.’s Answer ¶ 5; Pl.’s Compl.

Ex. 3) In May 2021, Plaintiff Richmond Main, LLC (hereinafter “Plaintiff”)

purchased and acquired all of Target’s interest in Target’s tract of the shopping

complex. ECF No. 14-1 Page ID. 215-220, (Pl.’s Compl. Ex. 4, 5.) Plaintiff

subsequently signed an Assignment and Assumption of Operation and Easement

Agreement ECF No. 14-1, PageID.220-226, (hereinafter “Assignment”), where

Plaintiff accepted all of the assignments of Target’s OEA. (Pl.’s Compl. ¶ 40; Def.’s

Answer ¶ 40; Pl.’s Compl. Ex. 6).

      A. Plaintiff is actively required to make payments to Defendant under
         relevant provisions of the Operating and Easement Agreement.
      Article 4.2(C) of the OEA, ECF No. 14-1, PageID.158-161, states that

Plaintiff must “pay to [Defendant] an annual Common Area Maintenance charge

(“CAM charge”) … in equal monthly installments during the term of the OEA ….”

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(Pl.’s Compl. Ex. 3 at 21-22 emphasis added). The CAM charge is calculated per

square foot of floor area of Plaintiff’s tract, with an annual adjustment according to

the Consumer Price Index. ECF No. 14-1, PageID.157-162. (Pl.’s Compl. Ex. 3 at

21-22). There are no occurrences listed under Article 4.2(C) that would effectuate

the termination of Plaintiff’s obligation to pay CAM charges.

      CAM charges are due during the entire term of the OEA, and the OEA term

is still in full force and effect. ECF No. 14-1, PageID.184-185. Article 7.1 is titled

“Term of this OEA” and reads, in relevant part,

      This OEA shall be effective as of the date first above written and shall
      terminate on the expiration of six (6) months following notice of
      termination by one of the Parties then in interest to the other Party then
      in interest given at any time after the expiration of the fifty (50) year
      period following the date hereof; however, that the easements referred
      to in Article II hereof which are specified as being perpetual or as
      continuing beyond the term of this OEA shall continue in force and
      effect as provided therein. (emphasis added).
Thus, the term of the OEA will not expire until six months after notice from

one of the parties of interest of its desire to terminate the OEA. Pl.’s Compl.

Ex. 3 at 47. Yet, such notice can only be given after fifty years from the

commencement of the OEA term, making the earliest possible date the entire

OEA can be terminated sometime in the year 2045. Pl.’s Compl. Ex. 3 at 47.

There are no other provisions in the OEA that allow the termination of the

OEA in its entirety. See generally Pl.’s Compl. Ex. 3.



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      The remaining references to termination in the OEA are limited to the

termination of two specific covenants in the OEA. These items have no bearing on

the remainder of the OEA. For example, Article 5.1(A) is titled “Developer’s

Operating Covenant” ECF No. 14-1, Page ID.163, and reads, in its entirety,

      Developer covenants with Target, for a period of ten (10) years
      following Target’s initial opening for business and for so long
      thereafter as two (2) or more Major Store Buildings are being operated
      as single retail stores, Developer shall continuously operate the
      enclosed mall and at least sixty (60%) or more of the Floor Area of the
      Mall Store Buildings, with reasonably even distribution thereof
      throughout the enclosed mall, in a manner consistent with best
      standards of reasonable shopping center practices. Notwithstanding the
      foregoing, this operating covenant shall terminate as to Target at such
      time as Target permanently ceases to be open for business to the public.
Pl.’s Compl. Ex. 3 at 26 (emphasis added). In short, Article 5.1(A) requires

Defendant to operate the mall and 60% of its floor area for ten years with even

distribution and high standards, but should Target permanently close its doors, “this

operating covenant” would terminate. Pl.’s Compl. Ex. 3 at 26.

      Next, Article 5.1(B) is titled “Target’s Operating Covenant” ECF No. 14-1,

Page ID.164, and reads, in relevant part,

      Target covenants with Developer that it will use its best efforts to open
      its store in the Target Building, and its entrance to the enclosed mall
      (which shall be and remain open during Tenant’s Operating Covenant
      a minimum of thirty (30) feet in width), on or before August 1, 1994
      and that Target will thereafter, for a period of ten (10) years from the
      date that Target first opens for business in the Target Building , operate
      or cause to be operated in the Target Building: During the first five (5)
      year period after the date Target first opens, a department store under
      the trade name of ‘Target’ or such other trade name as is now being

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         used or as may hereafter be used at the time in question by a majority
         of its stores of like type in the States of Michigan and Ohio; and during
         the next five (5) year period, a department store. Target shall be
         released from its operating covenant as set forth above in the event at
         any time following Target’s initial opening for business less than
         seventy-five percent (75%) of the Mall Store Buildings shall be
         operating as mall stores, with reasonably even distribution thereof
         throughout the enclosed mall; provided, however, Developer shall have
         six (6) months after receipt of written notice from Target within which
         to cure such deficiency before such release shall be effective. (emphasis
         added).
To summarize, Article 5.1(B) required Target to open by a certain date and

operate as a department store for a ten-year period, but should Defendant fail

to keep the shopping complex at 75% or higher capacity and fail to cure the

deficiency within six months of Target providing notice, the “operating

covenant as set forth” would terminate. Pl.’s Compl. Ex. 3 at 27. Together,

these two provisions merely allow for an exemption from the performance of

these individual ten-year operating covenants contained in the OEA.1

         B.       Plaintiff agreed to a Settlement Agreement in which, amongst other
                  terms, Plaintiff waived and released Defendant of the claims
                  Plaintiff attempts to bring in this Lawsuit.
         In January 2022, Defendant filed a lawsuit against Plaintiff in the Trumbull

County Court of Pleas, an Ohio state court, due to Plaintiff’s failure to pay the CAM

charges as required under the OEA and Assignment. ECF No 14-1, PageID.228-235,



1
  Again, the OEA included a fifty-year term. The ten-year term of the covenants was intentional to treat the parties’
limited promises to operate their business differently than the remainder of the responsibilities and obligations set
forth in the OEA.

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Pl.’s Compl. Ex. 8. When this lawsuit commenced, an issue of personal jurisdiction

arose pertaining to whether Plaintiff could be subject to jurisdiction in Ohio. Pl.’s

Compl. ¶ 21; Pl.’s Compl. Ex. 7. Ultimately, the Ohio judge ruled that the court

could exercise personal jurisdiction over Plaintiff because both statutory and

common law indicated that Plaintiff was “‘transacting business’ in Ohio.” ECF No.

14-1, PageID.234, Pl.’s Compl. ¶ 24; Def.’s Answer ¶ 5[sic]; Pl.’s Compl. Ex. 7.

After this judgment, Plaintiff and Defendant resolved the lawsuit through a

Settlement Agreement executed in January 2023. ECF No. 14-1, PageID.237-246.

(Pl.’s Compl. ¶ 27; Def.’s Answer ¶ 27). Under the Settlement Agreement, signed

by both parties to this case, Plaintiff agreed to pay Defendant $138,501.00 in

outstanding CAM charges; to continue paying future CAM charges according to the

OEA; complete various repairs to its real property, including the replacement of the

parking lot on its parcel; and specifically released Defendant, ECF No. 14-1, Page

ID.240, of any and all past, present, and future claims pertaining to the OEA from

the beginning of time to the time the Settlement Agreement became effective. (Pl.’s

Compl. Ex. 8 ¶¶ 2, 3, 9.)

      C. Plaintiff sued Defendant based on the improper contention that
         Defendant defrauded Plaintiff, resulting in alleged statutory
         conversion and unjust enrichment.
      Instead of honoring the terms of the Settlement Agreement (i.e. the payment

of CAM charges and the performance of various repairs to its real property) Plaintiff


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brought this lawsuit against Defendant in an attempt to avoid its obligations under

the OEA, Assignment, and Settlement Agreement. See Pl.’s Compl. While

Plaintiff’s Complaint is extremely verbose and unorganized, Plaintiff only asserts

three actual claims against Defendant (Counts Two, Three, and Five) and the

remaining counts (Counts One, Four, Six, Seven, Eight, and Nine) relate to equitable

reliefs sought for the three actual claims. See Pl.’s Compl. Plaintiff has accused

Defendant of fraud, statutory conversion, and unjust enrichment. Pl.’s Compl. ¶¶ 66-

77, 82-84. Additionally, Plaintiff asserts that it is entitled to various declaratory

reliefs, quiet title in real property, and constructive trust as a result of Defendant’s

alleged fraud, conversion, and unjust enrichment. (Pl.’s Compl. ¶¶ 55-62, 78-81, 85-

100.) Each of these assertions rely upon the Plaintiff’s basic premise that Paragraph

5.1 of the OEA terminated all of Target’s obligations under the OEA, and hence,

relieves Plaintiff from any further obligation to Defendant.         Now, Defendant

respectfully requests that this honorable Court grant Defendant’s Motion for

Judgment on the Pleadings against Plaintiff as a matter of law.

II.   LAW & ANALYSIS

      A party may move for judgment on the pleadings after the pleading stage of

the action has concluded. Fed. R. Civ. Pro. 12(c). While the Court will typically only

consider the pleadings of the case under a Rule 12(c) Motion, it can also look to

“matters of public record, orders, items appearing in the record of the case, and


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exhibits attached to the complaint.” Barany-Snyder v. Weiner, 539 F.3d 327, 332

(6th Cir. 2008), quoting Amini v. Oberlin Coll., 259 F.3d 493, 502 (6th Cir. 2001).

Under a Rule 12(c) Motion, the court must take “all-well pleaded material

allegations of the pleadings of the opposing party” as true, and grant the motion

when ‘there is “‘no material issue of fact’ … and the party making the motion is

entitled to judgment as a matter of law.” JPMorgan Chase Bank, N.A. v. Winget, 510

F.3d 577, 581 (6th Cir. 2007), quoting Paskvan v. City of Cleveland Civil Serv.

Comm’n, 946 F.2d 1233, 1235 (6th Cir. 1991). If the opposing party’s pleadings fail

to state a claim to relief that is plausible on its face using “sufficient factual matter”

the Rule 12(c) Motion should be granted. Engler v. Arnold, 862 F.3d 571, 575 (6th.

Cir. 2017). Therefore, “legal conclusions or unwarranted factual inferences” should

not be accepted as true. JPMorgan Chase Bank, 510 F.3d at 581-82. For the reasons

enumerated below, Plaintiff has not successfully pled that it is entitled to relief under

any of the claims it has alleged against Defendant, nor any equitable relief because

the undisputed facts of the case do not create any plausible causes of action under

Michigan law.2


2
 Federal law will govern the procedural aspects of a case regardless of the basis for the federal court’s jurisdiction.
Roskam Baking Co. v. Lanham Mach. Co., 288 F.3d 895, 901 (6th Cir. 2002) (stating that “in federal court, federal
procedural rules must be applied ….”). However, when a federal court decides a diversity jurisdiction action,
substantive issues of law will be governed by the law of the state where the federal court is geographically located,
so long as the law does not contravene federal interests. Semtek Int’l Inc. v. Lockheed Martin Corp., 531 U.S. 497,
508-509 (2001); Allstate Ins. Co. v. Thrifty Rent-A-Car Sys., Inc., 249 F.3d 450, 454 (6th Cir. 2001). This case has
been properly removed to this Court based on diversity jurisdiction; therefore, Michigan state law will apply to the
discussion of Plaintiff’s causes of action.


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      A.    Plaintiff is barred from recovery in this lawsuit because Plaintiff
            expressly waived its alleged claims and released Defendant from
            liability in the Settlement Agreement.
      Any claims that could have been brought against Defendant from the

beginning of time to January 2023 are now barred from being litigated due to

Plaintiff signing the Settlement Agreement. ECF No. 14-1, PageID.237-246.

Plaintiff voluntarily and knowingly agreed to the Settlement Agreement, which

contains mutual waiver and release clauses, under the advice of its former counsel.

Settlement agreements are viewed as binding contracts under the law and when the

terms of such a contract are clear and unambiguous, the terms should be enforced by

the court. Reicher v. S.E.T. Enters., 770 N.W.2d 902, 907 (Mich. Ct. App. 2009).

Waiver and release clauses contained in contracts are valid, so long as they are

entered into fairly by all parties. Dombrowski v. City of Omer, 502 N.W.2d 707, 709

(Mich. Ct. App. 1993).

      In this case, the Settlement Agreement was executed between Plaintiff and

Defendant in January 2023, and included this waiver and release language in Clause

9:

      Richmond Main hereby releases and forever discharges Frenchtown, its
      employees, agents, successors, and assigns, from any and all claims,
      demands, damages, actions, and causes of action of any kind or nature
      whatsoever, whether said claims are known or unknown, contingent, or
      liquidated, from the beginning of time to the effective date of this
      Agreement.



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ECF No. 14-1, PageID.240-241. (Pl.’s Compl. Ex. 8 ¶ 9.) The Settlement Agreement

and this clause are valid and enforceable against Plaintiff, as there is no evidence

that the waiver and release clause is invalid. Plaintiff’s Complaint implicitly argues

that the waiver and release clause in the Settlement Agreement is invalid due to

Defendant’s fraud in procuring the settlement. As explained below, Defendant did

not commit any form of fraud by enforcing the OEA and Assignment through

litigation and a subsequent Settlement Agreement. See infra Part II Section B.

      Because the waiver and release clause is valid, it must be enforced as written.

Throughout Plaintiff’s Complaint, Plaintiff repetitively asserts that the OEA was

ineffective “at all relevant times,” including when Defendant commenced the Ohio

lawsuit on January 14, 2022. ECF No. 14, PageID.83-84. (Pl.’s Compl. ¶¶ 49-53.) If

Plaintiff wanted to challenge the effectiveness of the OEA to avoid the obligations

it was knowingly assigned and assumed, Plaintiff had a full and fair opportunity to

do so in the year the Ohio lawsuit was being litigated. Plaintiff failed to raise the

validity of the OEA at this time, and Plaintiff subsequently waived and released

Defendant of all claims. Plaintiff is now barred from any recovery in this case

because all of Plaintiff’s claims are premised on the OEA having supposedly ceased

prior to Plaintiff acquiring ownership in Target’s tract in 2021.

      B.     Plaintiff has failed to establish any claim for which relief can be
             granted due to Plaintiff’s reliance on erroneous allegations.



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      Even if this Court were to decide that Plaintiff was not barred from suing

Defendant due to the express waiver and release contained in the Settlement

Agreement, Plaintiff’s Complaint still fails as a matter of law. Plaintiff contends that

Defendant has committed fraud, statutory conversion, and received unjust

enrichment as a result of the Ohio lawsuit, Settlement Agreement, and related

transactions. Considering the well-pleaded and undisputed facts of this case,

Plaintiff’s causes of actions against Defendant should be dismissed for failure to

state a claim due to Plaintiff’s dependency on profoundly incorrect and unsupported

allegations.

               i.   Plaintiff cannot establish any claims against Defendant on
                    the basis Defendant misrepresented the effectiveness of the
                    OEA because the OEA remains in full force and effect.
      Plaintiff bases its claims upon its misguided and illogical interpretation of

Article 5.1 of the OEA, resulting in the assumption that the “OEA has ceased … and

was of no further legal force and effect.” ECF No. 14, PageID.82 (Pl.’s Compl. ¶

47.) According to Plaintiff, under Article 5.1(A) and (B), Developer’s and Target’s

respective operating covenants had been terminated which somehow caused the

termination of the entire OEA. These operating covenants were intended to ensure

that the parties to the OEA each operated at a certain standard to mutually benefit

one another for the first ten years of the OEA, separate from the remaining

obligations of the OEA. ECF No. 14-1, PageID.163-168. (Pl.’s Compl. Ex. 3 at 27-


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28.) The clear and unequivocal language of the OEA does not support Plaintiff’s

baseless conclusion that the termination or expiration of these individual operating

covenants would impact the validity of the entire OEA. ECF No. 14-1, PageID.164-

165, (Pl.’s Compl. Ex. 3 at 27-28. In fact, an examination of other OEA provisions

reveals the intent of the parties of the OEA to be enforced for the full fifty (50) year

term, regardless of the termination or expiration of the limited ten (10) year operating

covenants in Article 5.1(A) and (B). Many provisions use the phrase “term of the

OEA,” and the fifty (50) year term of the OEA is precisely defined in Article 7.1.

ECF No. 14-1, PageID.184-185. The following sections explicitly support this

assertion:

      ▪ Article 2.1(B) is titled “Ingress and Egress” and states, “During the term

             of this OEA each Party hereby grants and conveys to each other Party for

             its use for the use of its Permitees, … a non-exclusive easement for the

             passage and parking of vehicles over and across the parking and driveway

             areas ….” ECF No. 14-1, PageID.143.

      ▪ Article 3.2(F) is titled “Common Area” and states, “Developer and Target

             have approved the grading and drainage plan used in initial construction

             of the Common Area. During the term of this OEA, no Party shall alter the

             grade elevations on any portion of its Tract ….” ECF No. 14-1,

             PageID.152.


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      ▪ Article 3.3(B)(ii) is titled “Additional Construction on the Target Parcel”

          and states, “Target agrees that at all times during the term of this OEA, any

          additional improvements constructed on the Target Parcel will conform to

          the following limitations ….” ECF No. 14-1, PageID.154.

      ▪ Article 4.2(C) is titled “Common Area” and states, “… Target shall pay to

          Developer an annual Common Area Maintenance charge (“CAM charge”)

          equal to forty cents (40¢) per square foot of the Floor Area on the Target

          Parcel for each calendar year of the term of the OEA ….” (emphasis

          added). ECF No. 14-1, PageID.158.

      ▪ Article 6.17 is titled “OEA Shall Continue Notwithstanding Breach” and

          states, “It is expressly agreed that no breach of this OEA shall (i) entitle

          any Party to cancel, rescind, or otherwise terminate this OEA ….” ECF

          No. 14-1, PageID.183.

Article 6.17 most clearly reveals that all terms of the OEA are to remain enforceable

for the full fifty (50) year term, regardless of any misconduct by the parties, and thus

destroys the argument that the parties would also intend for a failure to comply with

a single operating covenant to render the entire OEA unenforceable.

      There are no other provisions under which the entire OEA could be

unilaterally terminated or deemed ineffective. The earliest the entire OEA could be

unilaterally terminated would be the year 2045. ECF No. 14-1, PageID.184-185.


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(Pl.’s Compl. Ex. 3 at 47.) As set forth, the CAM charge provisions contained in

Article 4.2 ECF No. 14-1, PageID.157-162, is still in full force and effect. Moreover,

there is no separate clause that allows Plaintiff to be released from the obligation to

pay CAM charges. ECF No. 14-1, PageID.158-159 (Pl.’s Compl. Ex. 3 at 21-22.)

Pursuant to the OEA, Plaintiff is at minimum obligated to pay CAM charges for

another two decades, since the end of the OEA term is the only occasion that will

release Plaintiff from this obligation. ECF No. 14-1, PageID.159. (Pl.’s Compl. Ex.

3 at 22.) Since the OEA is still binding against Plaintiff, Defendant is entitled to seek

enforcement of past and present due payments, and Plaintiff’s bogus claims for

fraud, statutory conversion, unjust enrichment, etc. fail as a matter of law as further

explained below.

       Count Two of Plaintiff’s Complaint alleges Defendant committed fraud by

misrepresentation. ECF No. 14, PageID.88-92. (Pl.’s Compl. ¶¶ 63-73.) There are

six general elements a plaintiff must establish to prove fraud by misrepresentation:

(1) the defendant made a representation of material fact, (2) that was false, (3)

knowing the statement was false, or recklessly without knowledge of its truth, (4)

with the intent for the plaintiff to rely on the material fact, (5) which the plaintiff did

rely on, and (6) suffered injury as a result of the reliance. U.S. Fidelity & Guaranty

Co. v. Black, 313 N.W.2d 77, 83 (Mich. 1981), quoting Candler v. Heigho, 175 N.W.

141, 143 (Mich. 1919). The failure to establish any one of the elements of fraud by


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a “reasonable degree of certainty” will be “fatal to recovery.” Id. In this case,

Plaintiff cannot establish the second and third elements of fraud because Defendant

did not knowingly make false statements of any material fact. As established herein,

Defendant truthfully asserted that Defendant was entitled to relief under the OEA

and Assignment, and therefore, was permitted to seek relief through judicial action

and settlement.

      Count Three of Plaintiff’s Complaint alleges Defendant committed statutory

conversion. ECF No. 14, PageID.92-93. (Pl.’s Compl. ¶¶ 74-77.) Statutory

conversion allows parties to recover if they are damaged by “[a]nother person’s

stealing or embezzling property or converting property to the other person’s own

use.” Mich. Comp. Laws § 600.2919a(1)(a). The plaintiff must show that the

“defendant willfully engaged in a ‘distinct act of domain wrongfully exerted over

[the plaintiff’] personal property in denial of or inconsistent with the rights therein”

for the defendant’s own use. Cnty. of Ingham v. Mich. Cnty. Rd. Comm’n Self-

Insurance Pool, No. 334077, 2022 Mich. App. LEXIS 4081, at *11-12 (Mich. Ct.

App. July 14, 2022), quoting Magley v. M&W Inc., 926 N.W.2d 1, 5-6 (Mich. Ct.

App. 2018). When the alleged conversion is of money, the plaintiff must also prove

that the money was obtained by defendant “without the owner’s consent to the

creation of a debtor-creditor relationship” and “had an obligation to return the




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specific money ….” Cnty. of Ingham, 2022 Mich. App. LEXIS 4081, at *12, quoting

Lawsuit Fin, LLC v. Curry, 683 N.W.2d 233, 240 (Mich. Ct. App. 2004).

      Here, Plaintiff states Defendant converted the money by “the filing of a

frivolous lawsuit devoid of arguable legal merit … in an effort to leverage a

settlement agreement for which [Defendant] was not entitled to a legal recovery ….”

ECF No. 14, PageID.93 (Pl.’s Compl. ¶ 76.) As proven in the preceding discussion,

Defendant has an unambiguous contractual right to collect money from Plaintiff for

CAM charges. Thus, Defendant did not statutorily convert money from Plaintiff

because it was within Defendant’s legal rights to pursue judicial action in Ohio to

enforce payment of delinquent CAM charges and secure said money through a

Settlement Agreement.

      Count Five of Plaintiff’s Complaint alleges that Defendant has been unjustly

enriched. ECF No. 14, PageID.99. (Pl.’s Compl. ¶¶ 82-84.) When unjust enrichment

exists, the law will imply a contract to prevent the unjust enrichment, unless an

express contract already exists governing the subject matter. Bellevue Ventures, Inc.

v. Morang-Kelly Inv., 836 N.W.2d 898, 901 (Mich. Ct. App. 2013). Courts

historically dismiss claims for unjust enrichment when an express contract exists.

Hudson v. Mathers, 770 N.W.2d 883, 887 (Mich. Ct. App. 2009); Liggett Rest.

Group, Inc. v. City of Pontiac, 676 N.W.2d 633, 639 (Mich. Ct. App. 2003). In this

case, the OEA, ECF No. 14-1, PageID.135-213, the Assignment, ECF No. 14-1,


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PageID.222-226, and Settlement Agreement ECF No. 14-1, PageID.237-246, are

express contracts with Plaintiff that address the payment of CAM charges. The

$138,501 that Plaintiff argues is unjustly enriching Defendant, is the exact amount

the two parties expressly contracted to be paid. ECF No. 14-1, PageID.238. Plaintiff

is not entitled to recovery under the theory of unjust enrichment due to the existence

of multiple express contracts.

           ii.      Plaintiff cannot establish any claims against Defendant with
                    any remaining allegations due to irrelevance and inaccuracy.
      Aside from the improper assertion the OEA is ineffective, Plaintiff bases its

claims on the allegation that Defendant incorrectly used the d.b.a. Quality Auto Parts

to describe Plaintiff in the prior lawsuit. Many times throughout Plaintiff’s numerous

and rambling prayers to this Court, Plaintiff argues that this representation was used

to fraudulently induce Plaintiff in some manner. The first element of fraud is that the

assertion is material to the case at hand. U.S. Fidelity & Guaranty Co. v. Black, 313

N.W.2d 77, 83 (Mich. 1981). According to Black’s Law Dictionary, a material fact

is one that is “so substantial and important as to influence [the] party to whom [it is]

made ….” Zine v. Chrysler Corp., 600 N.W.2d 384, 398 (Mich. Ct. App. 1999).

Whether Plaintiff operated under the business name of Quality Auto Parts is not a

material fact because the use of this d.b.a. would not have any reasonable influence

on Plaintiff, especially since Plaintiff should know what its own d.b.a. is. In fact,

Plaintiff continually used this d.b.a. in multiple court documents and even agreed to

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the Settlement Agreement in which Plaintiff was referred to “Richmond Main, LLC,

d.b.a. Quality Auto Parts.” ECF No. 14-1, PageID.237.

      Additionally, Plaintiff reasons that Defendant filed the lawsuit in Ohio

“fraudulently misrepresenting personal jurisdiction over [Plaintiff] knowing full

well that [Defendant] had no legal recourse … in Ohio ….” ECF No. 14, PageID.83-

84 (Pl.’s Compl. ¶ 51.) Yet, the Ohio Court expressly rejected Plaintiff’s argument

and concluded that Plaintiff transacted business in Ohio thereby subjecting itself to

personal jurisdiction in Ohio. ECF No. 14-1, PageID.228-235. (Pl.’s Compl. Ex. 7.)

As a result, Plaintiff has failed to establish the second and third elements of fraud

concerning this representation of personal jurisdiction.

      C.     Plaintiff has failed to establish that it is entitled to any equitable
             remedies because there are no successful claims against Defendant
             for which relief can be granted.
      Count One and Four of Plaintiff’s Complaint allege that Plaintiff should

receive various declaratory reliefs. ECF No. 14, PageID.84-96. (Pl.’s Compl. ¶¶ 55-

62, 78-81.) An equitable remedy, such as declaratory relief, should only be granted

when the underlying claims attempting to justify relief can be clearly substantiated.

Arabo v. Mich. Gaming Control Bd., 872 N.W.2d 223, 237 (Mich. Ct. App. 2015),

citing Wade v. Dep’t of Corr., 483 N.W.2d 26, 28 (Mich. 1992). Here, Plaintiff

requests for this Court, through declaratory relief, to find that Plaintiff should

recover a variety of monetary damages as a result of Defendant’s fraud, statutory


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conversion, and unjust enrichment. ECF No. 14, PageID.84-85. (Pl.’s Compl. ¶¶ 55-

62.) Plaintiff has failed to sufficiently establish the elements of fraud, statutory

conversion, and unjust enrichment. See supra Part II Section A. Since these claims

are the underlying purpose for Plaintiff’s request for declaratory relief, Plaintiff has

failed to establish it is entitled to such. Additionally, Plaintiff asserts, without any

specific legal basis, that it is entitled to a “full and complete historical account of all

income, expenses, improvements, and changes of any and [sic] nature concerning

the subject matter,” and Defendant’s failure to do so constitutes fraud. ECF No. 14,

PageID.96. Pl.’s Compl. ¶¶ 79-81. This is a purely contractual matter. Plaintiff’s

specific CAM obligation is outlined in the OEA, which does not provide Plaintiff

with any right to the requested information. ECF No. 14-1, PageID.157-163.

Therefore, Plaintiff is not entitled to any declaratory relief it seeks.

        Count Six of Plaintiff’s Complaint alleges that Plaintiff is entitled to quiet title

in property.3 ECF No. 14, PageID.101-105. (Pl.’s Compl. ¶¶ 85-91.) Under

Michigan law, a plaintiff may bring a lawsuit for the equitable relief of quiet title

against those who claim any inconsistent interest with the land in question. Mich.

Comp. Laws § 600.2932(1). A plaintiff has the burden of proof to make out a prima

facie case that it has title over the property, and if the plaintiff can successfully do


3
  Plaintiff alleges it complied with the requirements of Michigan Court Rule 3.114 to assert this claim. ECF No. 14,
PageID.102. However, no such rule exists, so it is assumed that Plaintiff is relying upon Michigan Court Rule 3.411,
titled “Civil Action to Determine Interests in Land.”


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so, then the defendant must prove it has superior interest itself. Beulah Hoagland

Appleton Qualified Pers. Residence Trust v. Emmet Cnty. Rd. Comm’n, 600 N.W.2d

698, 700 (Mich. Ct. App. 1999). In this case, Plaintiff knowingly purchased the

parcel from Target, ECF No. 14-1, PageID.215, subject to another party’s interest

because Plaintiff signed the Assignment, which assigned all of Target’s obligations

under the OEA to Plaintiff. ECF No. 14-1, PageID.222-226. Defendant has superior

title under the OEA, which effectively grants Defendant an interest in the parcel.

ECF No. 14-1, PageID.142-145. The OEA has been recorded with the Register of

Deeds in Monroe County, Michigan, successfully providing other parties notice of

Defendant’s interest. There are no grounds for which this easement is no longer

effective nor has it been extinguished by other means.4 Due to Defendant’s superior

title in the land in dispute, Plaintiff cannot be granted quiet title.

        Count Seven of Plaintiff’s Complaint alleges that Plaintiff is entitled to a

constructive trust to enjoin liquidation or diminution of real property. ECF No. 14,

PageID.105-106. A constructive trust is a remedy that allows a title holder to become

a trustee of said title by operation of law when it is essential to prevent inequity.

Arndt v. Vos, 268 N.W.2d 693, 695 (Mich. Ct. App. 1978). Such inequity can be



4
 Easements can be terminated or extinguished in a number of ways, such as merger of property, adverse possession,
or abandonment. See generally von Medling v. Strahl, 30 N.W.2d 363; Terlecki v. Stewart, 754 N.W.2d 899;
Goodman v. Brenner, 188 N.W. 377; 11 Midwest Transaction Guide § 371.25 (2024). None of these triggering
events have occurred, nor does Plaintiff allege they have. The OEA is still in full force and effect.


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through unjust enrichment, or when property is acquired through “fraud,

misrepresentation, concealment, undue influence, duress, taking advantage of one’s

weakness, or necessities, or any other similar circumstances ….” Kammer Asphalt

Paving Co. v. East China Twp. Sch., 504 N.W.2d 635, 641 (Mich. 1993). Here,

Defendant has not been unjustly enriched in any manner, nor has Defendant engaged

in any fraud throughout its dealings with Plaintiff. Supra Part II Section B(i).

Plaintiff has failed to establish any grounds for which it is allowed the imposition of

a constructive trust.

       Count Eight of Plaintiff’s Complaint ECF No. 14, PageID.109-111, alleges

Plaintiff is entitled to equitable relief. However, equitable relief is not a separate

cause of action or claim for relief that can be granted by the court. Cannon v. Wells

Fargo Bank, N.A., 917 F.Supp. 2d 1025, 1031 (N.D. Cal. 2013).

III.   CONCLUSION

       Plaintiff’s Complaint is barred by the Settlement Agreement and Release the

Parties entered into in January 2023 wherein Plaintiff expressly released Defendant

from liability for any and all claims arising before the effective date of the Settlement

Agreement and Release. The entirety of Plaintiff’s Complaint is based upon items

that allegedly occurred prior to January 2023. Plaintiff has waived its ability to bring

this lawsuit and Defendant is entitled to judgment on all of Plaintiff’s claims as a

matter of law.


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      Even if Plaintiff were permitted to sue Defendant, Defendant has not engaged

in fraud of any kind, statutorily converted money, or been unjustly enriched by

pursuing enforcement of the OEA and Assignment through the Ohio lawsuit and

Settlement Agreement. Plaintiff incorrectly relies on language in Article 5.1 of the

OEA as having terminated the entire OEA, as opposed to the proper understanding

that individual operating covenants in the OEA may be terminated. This OEA cannot

be terminated for another twenty years, and thus clearly and undeniably still an

enforceable and effective document, rendering the core of Plaintiff’s arguments

completely inadequate. Until the OEA term has been terminated, Defendant has the

legal right to pursue payment of CAM charges and Plaintiff’s performance of the

maintenance and repairs detailed in the Settlement Agreement and the OEA. For the

reasons outlined in this Brief in Support, this Court should rule in favor of Defendant

and grant its Motion for Judgment on the Pleadings in its entirety.



                                                     Respectfully Submitted,

Dated: January 28, 2025

                                                     /s/    Philip A. Costello
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               CONFERENCE REGARDING CONCURRENCE

I certify that on January 27, 2025, I spoke by telephone with Phillip A. Goldblatt,

Counsel for Plaintiff, explained this Motion, and inquired whether he would concur

with this Motion. He does not concur with this Motion for the reasons stated in the

Plaintiff’s Complaint.



                         CERTIFICATE OF SERVICE

I certify that on January 28, 2025, this Motion for Judgment on the Pleadings and

accompanying Brief in Support was served upon Phillip A. Greenblatt, Attorney

for Plaintiff, at phil@phillipagreenblattpllc.com.

                                                     /s/    Philip A. Costello
                                                     Philip A. Costello (P36075)
                                                     Attorney for Defendant
